Case 1:11-cv-05632-DLI-RR-GEL Document 687 Filed 08/14/14 Page 1 of 6 PageID #:
                                   15095

 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------------x
 MARK A. FAVORS, HOWARD LEIB, LILLIE H.                                  :
 GALAN, EDWARD A. MULRAINE, WARREN                                       :
 SCHREIBER, and WEYMAN A. CAREY,                                         :
                                                                         :
                                     Plaintiffs,                         :
                                                                         :
 DONNA KAYE DRAYTON, EDWIN ELLIS, AIDA                                   :
 FORREST, GENE A. JOHNSON, JOY WOOLLEY,                                  :
 SHEILA WRIGHT, MELVIN BOONE, GRISSELLE                                  :
 GONZALEZ, DENNIS O. JONES, REGIS THOMPSON :
 LAWRENCE, AUBREY PHILLIPS, LINDA LEE,                                   :       SUMMARY ORDER
 SHING CHOR CHUNG, JULIA YANG, JUNG HO                                   :      ADOPTING REPORT
 HONG, JUAN RAMOS, NICK CHAVARRIA,                                       :    AND RECOMMENDATION
 GRACIELA HEYMANN, SANDRA MARTINEZ,                                      :        11-cv-5632 (DLI)
 EDWIN ROLDAN, MANOLIN TIRADO, LINDA                                     :
 ROSE, EVERET MILLS, ANTHONY HOFFMAN,                                    :
 KIM THOMPSON-WEREKOH, CARLOTTA BISHOP, :
 CAROL RINZLER,GEORGE STAMATIADES,                                       :
 JOSEPHINE RODRIGUEZ, SCOTT AUSTER, and                                  :
 YITZCHOK ULLMAN,                                                        :
                                                                         :
                                     Intervenor Plaintiffs,              :
                                                                         :
                            -against-                                    :
                                                                         :
 ANDREW M. CUOMO, as Governor of the State of New :
 York, ROBERT J. DUFFY, as President of the Senate of :
 the State of New York, DEAN G. SKELOS, as Majority :
 Leader and President Pro Tempore of the Senate of the                   :
 State of New York, SHELDON SILVER, as Speaker of                        :
 the Assembly of the State of New York, JOHN L.                          :
 SAMPSON, as Minority Leader of the Senate of the State :
 of New York, BRIAN M. KOLB, as Minority Leader of                       :
 the Assembly of the State of New York, the NEW YORK :
 STATE LEGISLATIVE TASK FORCE ON                                         :
 DEMOGRAPHIC RESEARCH AND APPORTIONMENT :
 (“LATFOR”), JOHN J. McENENY, as Member of                               :
 LATFOR, ROBERT OAKS, as Member of LATFOR,                               :
 ROMAN HEDGES, as Member of LATFOR, MICHAEL :
 F. NOZZOLIO, as Member of LATFOR, MARTIN                                :
 MALAVÉ DILAN, as Member of LATFOR, and                                  :
 WELQUIS R. LOPEZ, as Member of LATFOR,                                  :
                                                                         :
                                     Defendants.                         :
 -------------------------------------------------------------------------x
Case 1:11-cv-05632-DLI-RR-GEL Document 687 Filed 08/14/14 Page 2 of 6 PageID #:
                                   15096

 DORA L. IRIZARRY, United States District Judge:

          This Order is written for the benefit of the parties regarding the issue of the award of

 attorneys’ fees and costs. 1          Familiarity with the underlying facts and the history of this

 redistricting litigation is presumed. 2

          On November 5, 2013, the Court entered judgment in favor of various plaintiff-

 intervenors on their claims related to the congressional redistricting following the 2010 census.

 (See Judgment Order, Dkt. Entry No. 639.) Subsequently, the Rose, Drayton, Lee, and Ramos

 Intervenors filed applications for attorneys’ fees, contending that, as prevailing parties, they were

 entitled to such fees. (See Rose Intervenors’ Motion for Attorney Fees, Dkt. Entry No. 647;

 Drayton Intervenors’ Motion for Attorney Fees, Dkt. Entry Nos. 650, 658; Ramos Intervenors’

 Notice of Motion for Attorney Fees and Costs, Dkt. Entry No. 657; Lee Intervenors’ Motion for

 Attorney Fees, Dkt. Entry No. 659.) The Governor and Lieutenant Governor of the State of New

 York (collectively, the “State”) filed the sole opposition to the fee applications. (See State’s

 Opposition, Dkt. Entry No. 666.)

          The Court referred the fee applications to United States Magistrate Judge Roanne L.

 Mann, who issued a report and recommendation (the “R & R”) on May 20, 2014. (See R & R,

 Dkt. Entry No. 672.) The magistrate judge recommended that: (1) the Rose Intervenors’ motion

 be denied in its entirety; (2) the Lee Intervenors be awarded $61,444 in attorneys’ fees; (3) the

 Drayton Intervenors be awarded $88,502.75 in attorneys’ fees, $15,780 in expert fees, and $0.75

 in litigation expenses; and (4) the Ramos Intervenors be awarded $97,196.25 in attorneys’ fees.

 (Id. at 1.) The State filed the sole objection to the R & R (see State’s Objections to R & R, Dkt.


 1
          The underlying facts and issues pertinent to the attorneys’ fees and costs applications is accurately detailed
 in the exceptionally thorough and thoughtfully written Report and Recommendation (“R & R”) of United States
 Magistrate Judge Roanne L. Mann. (See R & R, Dkt. Entry No. 672.) Furthermore, for ease of reference, the Court
 adopts the shortened names of the parties as delineated in the R & R. (See id. at 2-3.)
 2
          A detailed discussion of the factual background of this case is set forth in this Court’s May 22, 2014
 Opinion and Order. (See 5/22/14 Op. & Or., Dkt. Entry No. 673.)
                                                           2
Case 1:11-cv-05632-DLI-RR-GEL Document 687 Filed 08/14/14 Page 3 of 6 PageID #:
                                   15097

 Entry No. 682), which was timely. The Drayton Intervenors filed the sole reply. (See Drayton

 Intervenors’ Repl. Mem. of Law, Dkt. Entry No. 683.) For the reasons set forth below, the R &

 R is adopted in its entirety.

                                           DISCUSSION

         When a party objects to a R & R, a district judge must make a de novo determination

 with respect to those portions of the R & R to which the party objects. See Fed. R. Civ. P. 72(b);

 United States v. Male Juvenile, 121 F. 3d 34, 38 (2d Cir. 1997). If, however, a party makes

 conclusory or general objections, or attempts to relitigate the party’s original arguments, the

 court will review the R & R for clear error.          Robinson v. Superintendent, Green Haven

 Correctional Facility, 2012 WL 123263, at *1 (E.D.N.Y. Jan. 17, 2012) (quoting Walker v.

 Vaughan, 216 F. Supp. 2d 290, 292 (S.D.N.Y. 2002)). The district court may then “accept,

 reject, or modify the recommended disposition; receive further evidence; or return the matter to

 the magistrate judge with instructions.” Fed. R. Civ. P. 72(b)(3); see also 28 U.S.C. § 636(b)(1).

         The State contends that the magistrate judge erred in recommending that the Court find

 that the plaintiff-intervenors achieved prevailing party status. (See State’s Objections at 4-10.)

 The State’s objections constitute nothing more than relitigation of its position in its opposition to

 the fee applications. (Compare State’s Objections at 4-10, with State’s Opposition at 4-7.)

 Notably, the magistrate judge anticipated the State’s objections, and squarely and correctly

 addressed each of them in the R & R. (See R & R at 6-12.)

         Nonetheless, the Court has carefully considered the State’s objections to the R & R,

 which are meritless. First, the magistrate judge articulated and applied the correct legal standard

 for determining whether the plaintiff-intervenors achieved prevailing party status. In this action,

 the plaintiff-intervenors sought attorneys’ fees and costs under 42 U.S.C. § 1988 and 1973l(e),




                                                  3
Case 1:11-cv-05632-DLI-RR-GEL Document 687 Filed 08/14/14 Page 4 of 6 PageID #:
                                   15098

 which state that “the court, in its discretion, may allow the prevailing party . . . a reasonable

 attorney’s fee” and costs. 3

         The Supreme Court has explained that, it is unnecessary for a party to prevail on every

 issue in a litigation to achieve prevailing party status. See Hensley v. Eckerhart, 461 U.S. 424,

 433 (1983) (explaining that “plaintiffs may be considered ‘prevailing parties’ for attorney’s fees

 purposes if they succeed on any significant issue in litigation which achieves some of the benefit

 the parties sought in bringing suit”). If prevailing party status is achieved, the Court must then

 evaluate the “reasonableness” of the application. Id. The Court further clarified that, “at a

 minimum, to be considered a prevailing party within the meaning of § 1988, the plaintiff must be

 able to point to a resolution of the dispute which changes the legal relationship between itself and

 the defendant.” Texas State Teachers Assoc. v. Garland Indep. Sch. Dist., 489 U.S. 782, 792

 (1989). Some “purely technical or de minimis” victories may fail to support prevailing party

 status; however, a party crosses the threshold to prevailing party status when the party

 “succeed[s] on any significant issue in litigation which achieved[d] some of the benefit the

 parties sought in bringing the suit.” Id. at 791-92 (internal quotation marks omitted) (quoting

 Nadeau v. Helgemoe, 581 F. 2d 275, 278-79 (1st Cir. 1978)). Thus, “[t]he touchstone of the

 prevailing party inquiry must be the material alteration of the legal relationship of the parties in a

 manner which Congress sought to promote in the fee statute.” Id. at 792-93. “Where such a

 change has occurred, the degree of the plaintiff’s overall success goes to the reasonableness of

 the award under Hensley, not to the availability of a fee award vel non.” Id. at 793.

         In this action, the magistrate judge properly evaluated the fee and cost applications under

 the well settled Garland framework. (See R & R at 6-12.) The magistrate judge properly

 declined the State’s request to apply the slightly different analysis set forth in Hastert v. Illinois
 3
         Courts construe these fee-shifting statutes similarly. Davis v. City of New Rochelle, 156 F.R.D. 549, 553
 (S.D.N.Y. 1994) (“Since § 1973l(e) and § 1988 contain nearly identical language and are driven by similar
 Congressional intent, the Courts construe these fee shifting statutes similarly.” (footnote omitted)).
                                                        4
Case 1:11-cv-05632-DLI-RR-GEL Document 687 Filed 08/14/14 Page 5 of 6 PageID #:
                                   15099

 State. Bd. of Election Comm’rs, 28 F. 3d 1430 (7th Cir. 1993), a redistricting case. In that case,

 the Seventh Circuit announced a special standard for fee applications “in the redistricting

 context,” noting that, in such cases, “the touchstone for whether a party ‘prevails’ is simply

 whether that party’s map (or the map the party ultimately embraces) is ultimately adopted.” Id.

 at 1443 (affirming denial of attorneys’ fees for plaintiff-intervenors who submitted a proposed

 redistricting map that was rejected by the court, even though the plaintiff-intervenors’

 contributions to the litigation arguably were a “substantial factor in eradicating conduct that

 violates the Voting Rights Act”). Notably, Hastert is neither binding on this Court, nor does the

 Court find the analysis persuasive. The Hastert approach to evaluating requests for fees by

 parties to a redistricting litigation is unduly restrictive and inconsistent with the well recognized

 “broad remedial purpose of § 1988.” Wilder v. Bernstein, 965 F. 2d 1196, 1203 (2d Cir. 1992)

 (analyzing the legislative history and purpose of enacting § 1988); see also Hensley, 461 U.S. at

 433 (noting that courts should use “a generous formulation” to determine whether a party

 qualifies as a prevailing party under § 1988). Moreover, there is no authority from the Supreme

 Court or from this Circuit indicating that courts should analyze redistricting cases differently

 from other types of cases entitled to fee shifting under § 1988. As one court has recognized, the

 analysis of prevailing party status in Hastert is “contrary to the overwhelming majority of

 reported decisions that have addressed prevailing party status.” Perrin v. Kitzhaber, 83 P. 3d

 368, 375-76 (Or. Ct. App. 2004) (reversing denial of a fee application and finding that the

 plaintiff-intervenors in a redistricting litigation achieved prevailing party status even though their

 proposed plan was rejected because their submissions were “helpful” to the court in creating a

 new plan). Thus, the magistrate judge correctly rejected the State’s request to analyze the fee

 applications under Hastert.




                                                   5
Case 1:11-cv-05632-DLI-RR-GEL Document 687 Filed 08/14/14 Page 6 of 6 PageID #:
                                   15100

        Second, although the State did not object to the magistrate judge’s calculation of the fees

 and costs for each of the plaintiff-intervenors, it bears noting that the magistrate judge applied

 the appropriate legal standards and reached the correct resolution with respect to each party’s

 application.   The magistrate judge was in the best position to determine the merits of the

 applications as she served as the Special Master in this action, reviewing the parties’ submissions

 with respect to the congressional redistricting and crafting the new congressional map, which

 was adopted by the three-judge panel. She was keenly aware of each of the plaintiff-intervenors’

 contributions to the final map adopted by the Court, their overall success in achieving their goals

 in this litigation, and whether their efforts were merely duplicative of the original plaintiffs’

 efforts. She skillfully adjusted their requested compensation to reflect their contribution to the

 litigation. Accordingly, upon review of the characteristically thorough, thoughtful, and well-

 reasoned R & R, the Court hereby adopts the R & R in its entirety.

                                         CONCLUSION

        For the reasons set forth above, the R & R is adopted in its entirety. Accordingly, it is

 ORDERED that:       (1) the Rose Intervenors’ motion is denied in its entirety; (2) the Lee

 Intervenors are awarded $61,444 in attorneys’ fees; (3) the Drayton Intervenors are awarded

 $88,502.75 in attorneys’ fees, $15,780 in expert fees, and $0.75 in litigation expenses; and (4)

 the Ramos Intervenors are awarded $97,196.25 in attorneys’ fees.

 SO ORDERED.

 DATED: Brooklyn, New York
        August 14, 2014

                                                      ______________/s/_________________
                                                             DORA L. IRIZARRY
                                                           United States District Judge




                                                 6
